This action was brought to prevent the sale of the property of plaintiffs to enforce the lien of a reclamation tax and is a companion case to Spurrier v. Neumiller, etc., ante, p. 683, [174 P. 338]. It is conceded that the decisive question is the same in the two appeals, and that is, whether the land should be credited with the payment of said invalid assessment. Having reached the conclusion that the lower court was correct in holding that no such credit should be given, it follows that we should affirm the judgment in this case, and it is so ordered.
Chipman, P. J., and Hart, J., concurred.
A petition to have the cause heard in the supreme court, after judgment in the district court of appeal, was denied by the supreme court on August 26, 1918.
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